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                                    UNITED STATES DISTRICT COURT
                                     DISTRJCT OF MONTANA BILLINGS DIVISION

 UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE

 V.
                                                                          Case Number: CR 18-123-BLG-SPW-2
 TIANNA MARIE PANTALION                                                   USM Number: 17398-046
                                                                          Brian P. Fay
                                                                           Defendant's Attorney



THE DEFENDANT:
                                                                                                               FILED
 ~     pleaded guilty to count(s)                        3                                                     JUN 7 2019
       pleaded nolo contendere to count(s) which
 •     was accepted by the court
                                                                                                          Clerk, U S District Court
                                                                                                            District Of Montana
       was found guilty on count(s) after a plea of                                                               -··""H"
 •     not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section/ Nature of Offense                                                               Offense Ended
 21 :841 A=Cd.F Possession With Intent To Distribute Methamphetamine; 18:2                        08/19/2018
 Aiding and Abetting; 21 :853(A)( I) and (2) Criminal Forfeiture




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 •     The defendant has been found not guilty on count(s)
 cgj   Count(s) I cgj is   • are dismissed on the motion of the United States
        It is ordered that the defendant must notify the Unit.ed States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines , restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
material changes in economic circumstances.


                                                             June 7 2019
                                                             Date of Imposition of Judgment




                                                             Susan P. Watters
                                                             United _States District Jud2_e _
                                                             Name and Title of Judge

                                                             Jun~7,20=19~ - - - -
                                                             Date
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DEFENDANT:                 TIANNA MARIE PANT A LION
CASE NUMBER:                CR 18-123-BLG-SPW-2

                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of: 63 months as to count 3.

 181     The court makes the following recommendations to the Bureau of Prisons:
          (I) Defendant shall participate in the Bureau of Prisons' 500-hour Residential Drug Treatment Program (RDAP)
          if eligible.
          (2) Defendant shall be placed at the Bureau of Prisons' facility at FCI Dublin for proximity to family.


 1:8:1   The defendant is remanded to the custody of the United States Marshal.
 •       The defendant shall surrender to the United States Marshal for this district:

           •     at                                •     a.m.     •    p.m.    on

            D    as notified by the United States Marshal.

 D       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           •     before 2 p.m. on
           •     as notified by the United States Marshal.
           D     as notified by the Probation or Pretrial Services Office.


                                                           RETURN
I have executed this judgment as follows :


          Defendant delivered on - - - - - - - - - - - to


at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.




                                                                  UNITED STATES MARSHAL

                                                                  By: _ __ _ _ __ _ _ _ _ _ __ __ __
                                                                  DEPUTY UNITED ST ATES MARSHAL
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DEFENDANT:                TIANNA MARIE PANT A LION
CASE NUMBER:               CR 18-123-BLG-SPW-2

                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: four (4) years.

                                            MANDATORY CONDITIONS

 I.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days
      of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           •     The above drug testing condition is suspended, based on the court's determination that you pose a low
                 risk of future substance abuse. (check if applicable)
 4.   D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a
            sentence of restitution. (check if applicable)
 5.   181 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    •    You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
           20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender
           registration agency in which you reside, work, are a student, or were convicted of a qualifying offense. (check
           if applicable)
7.    •    You must participate in an approved program for domestic violence. (check if applicable)

        You must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.
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                                STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 I. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame .
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and yo u must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If yo u are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 I 0. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i .e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers ).
 I I . You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13 . You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. I understand additional information regarding these conditions is
ava i Iable at https://www.mtp.uscourts.gov/ post-conviction-supervision.


 Defendant's Signature                                                                             Date
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DEFENDANT:                 TIANNA MARIE PANT AUON
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                                 SPECIAL CONDITIONS OF SUPERVISION
1.      The defendant shall participate in a program for mental health treatment as deemed necessary by the
        United States Probation Officer, until such time as the defendant is released from the program by the
        probation officer. The defendant is to pay part or all of the cost of this treatment, as directed by the United
        States Probation Office.

2.      The defendant shall submit their person, residence, place of employment, vehicles, and papers, to a search,
        with or without a warrant by any probation officer based on reasonable suspicion of contraband or
        evidence in violation of a condition of release. Failure to submit to search may be grounds for revocation.
        The defendant shall warn any other occupants that the premises may be subject to searches pursuant to
        this condition. The defendant shall allow seizure of suspected contraband for furth er examination.

3.      The defendant shall participate in and successfully complete a program of substance abuse treatment as
        approved by the United States Probation Office, until the defendant is released from the program by the
        probation officer. The defendant is to pay part or all of the cost of this treatment, as directed by the United
        States Probation Office.

4.      The defendant shall abstain from the consumption of alcohol and shall not enter establishments where
        alcohol is the primary item of sale.

5.      The defendant shall participate in substance abuse testing, to include not more than 365 urinalysis tests,
        not more than 365 breathalyzer tests, and not more than 36 sweat patch applications annually during the
        period of supervision. The defendant shall pay all or part of the costs of testing as directed by the United
        States Probation Office.



6.      The defendant shall not possess, ingest or inhale any toxic substances such as, but not limited to, synthetic
        marijuana, kratom and/or synthetic stimulants such as bath salts and spice, that are not manufactured for
        human consumption, for the purpose of altering the defendant's mental or physical state.

7.      The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a
        medical marijuana card or prescription.
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DEFENDANT:                   TIANNA MARJE PANTALION
CASE NUMBER:                  CR 18-123-BLG-SPW-2

                                         CRIMINAL MONETARY PENALTIES
           The defendant must a the total criminal monetar                 enalties under the schedule of
                                              Assessment        JVT A Assessment*                                                     Restitution
 TOTALS                                          $100.00                                                                                     $.00

            •              The determination of restitution is deferred until    An Amended Judgment in a Criminal
                           Case (A0245C) will be entered after such determination .
            0              The defendant must make restitution (including community restitution) to the following payees in
                           the amount listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment.
           However, pursuant to 18 U .S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.



 •     Restitution amount ordered pursuant to plea agreement $
 •     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid
       in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
       options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 •     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       •    the interest requirement is waived for               •
                                                               fine                                    •
                                                                                             restitution
            the
       •    the interest requirement for the                     •
                                                               fine                                    •
                                                                                             restitution is modified as
                                                                                             follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
** Findings for the total amount of losses are required under Chapters I09A, 110, 11 0A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23 , 1996.
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DEFENDANT:                     TIANNA MARIE PANTALION
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                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ~     Lump sum payments of$ I 00 due immediately, balance due

        •     not later than                                      , or

        ~                                         C,                     D,             E, or               F below; or
              in accordance with
                                           •                  •                  •
 B      •     Payment to begin immediately (may be combined with                 •      C,
                                                                                                     •      D, or
                                                                                                                               •       F below); or

 C      •     Payment in equal _ __ _ _ _ (e.g., weekly, monthly, quarterly) installments of$ _ _ _ _ _ _ over a period of
              _______ (e.g. , months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      •     Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of$ _ _ _ _ _ _ over a period of
              _______ (e.g. , months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E      •     Payment during the term of supervised release will commence within _ __ ___ (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that
              time; or

 F      ~     Special instructions regarding the payment of criminal monetary penalties:
              Criminal monetary penalty payments are due during imprisonment at the rate of not less than $25.00 per
              quarter, and payment shall be through the Bureau of Prisons' Inmate Financial Responsibility Program.
              Criminal monetary payments shall be made to the Clerk, United States District Court, James F. Battin Federal
              Courthouse, 2601 2nd Ave North, Ste 1200, Billings, MT 59101.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 o      Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

        D Defendant shall receive credit on her restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation.
 D      The defendant shall pay the cost of prosecution .
 D      The defendant shall pay the following court cost(s):
 D      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
